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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
                                                   § CASE NUMBER 9:17-CR-00016-RC
 v.                                                §
                                                   §
                                                   §
 CARLOS VARGAS-GUTIERREZ (1)                       §
                                                   §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of guilty pleas under Rule 11 of the Federal Rules of Criminal Procedure.

Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Pleas

Before the United States Magistrate Judge. The magistrate judge recommended that the court

accept the Defendant’s guilty pleas. He further recommended that the court adjudge the Defendant

guilty on Counts Eight and Nine of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

are ADOPTED. The court accepts the Defendant’s pleas but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty pleas and the

magistrate judge’s findings and recommendation, the Defendant, Carlos Vargas-Gutierrez, is

adjudged guilty as to Counts Eight and Nine of the Indictment charging violations of 21 U.S.C. §

841(a)(1) (Possession with the Intent to Distribute or Dispense Methamphetamine) and 18 U.S.C.

§ 924(c)(1) (Possession of a Firearm in Furtherance of a Drug Crime).

     So ORDERED and SIGNED this 10 day of August, 2017.




                                                 ___________________________________
                                                 Ron Clark, United States District Judge
